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                1     DEVERIE CHRISTENSEN, ESQ.
                      Nevada Bar No. 6596
                2     HILARY A. WILLIAMS, ESQ.
                      Nevada Bar No.14645
                3     JACKSON LEWIS P.C.
                      300 S. Fourth Street, Suite 900
                4     Las Vegas, Nevada 89101
                      Telephone: (702) 921-2460
                5     Email: deverie.christensen@jacksonlewis.com
                6     Email: hilary.williams@jacksonlewis.com

                7     Attorneys for Defendant Tesla, Inc.
                      f.k.a. Tesla Motors, Inc.
                8

                9                                  UNITED STATES DISTRICT COURT

              10                                            DISTRICT OF NEVADA
              11      MALCOLM SHEPHERD,                                Case No.: 3:25-cv-00137-ART-CSD
              12                     Plaintiff,                        DEFENDANT TESLA, INC’S REPLY IN
                                                                       SUPPORT OF DEFENDANT’S:
              13             vs.
                                                                           (1) MOTION TO COMPEL
              14      TESLA, INC., (a.k.a. TESLA MOTORS,                       ARBITRATION;
                      INC.) a Delaware Corporation; DOES I-X;
              15      and ROE Business Entities I-X.                       (2) MOTION TO STAY CASE PENDING
                                                                               DECISION OF MOTION TO
              16                     Defendants.                               COMPEL ARBITRATION; AND
              17                                                           (3) MOTION TO STAY CASE PENDING
                                                                               COMPLETION OF ARBITRATION
              18

              19
              20

              21            Defendant Tesla, Inc. (“Defendant” or “Tesla”) by and through its counsel, the law firm of
              22     Jackson Lewis P.C., submits this Reply in support of Defendant’s:          (1) Motion to Compel
              23     Arbitration; (2) Motion to Stay Case Pending Decision of Motion to Compel Arbitration; and (3)
              24     Motion to Stay this Action pursuant to the Federal Arbitration Act, 9 U.S.C. § 3 and the Uniform
              25     Arbitration Act of 2000, Nev. Rev. Stat. § Ch. 38, et seq. These Motions are based on the following
              26     Memorandum of Points and Authorities, all pleadings and documents on file with the Court, and
              27     any oral argument that the Court deems proper.
              28
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                1
                                           MEMORANDUM OF POINTS AND AUTHORITIES
                2
                                                              I.    INTRODUCTION
                3
                             Plaintiff Malcolm Shepherd (“Plaintiff”) has failed to establish any reason in law or fact
                4
                      why the Arbitration Agreement (ECF No. 13-1) between the parties should not be enforced and
                5
                      why preliminary questions regarding the Arbitration Agreement’s validity should not be decided
                6
                      by the arbitrator. Rather, the case law and evidence before the Court support compelling the parties
                7
                      to arbitration with JAMS. Thus, Defendant’s Motions (ECF Nos. 13-15) should be granted.
                8
                                                        II.        LEGAL ARGUMENT
                9                A. The parties agreed the arbitrator would determine whether the arbitration
                                    agreement is valid and enforceable.
              10
                             Plaintiff does not dispute he signed the arbitration agreement or that his claims would be
              11
                      subject to the arbitration agreement. See generally ECF No. 16. Rather, Plaintiff argues that “the
              12
                      matter of formation or the existence of any arbitration agreement must be submitted to a jury” prior
              13
                      to such an analysis. Id. at 6:18-19 (citing Three Valleys Mun. Water Dist. v. E.F. Hutton & Co.,
              14
                      925 F.2d 1136 (9th Cir. 1991)). However, Plaintiff’s argument ignores recent case law and the
              15
                      delegation provision of the parties’ contract.
              16
                             As explained in Defendant’s Motion to Compel Arbitration, the parties agreed by contract
              17
                      that the arbitrator, not the Court, will resolve threshold arbitrability questions. See ECF No. 13 at §
              18
                      3(A)(ii). The U.S. Supreme Court, analyzing a Nevada contract, held that courts must compel
              19
                      arbitration when parties agree to a stand-alone arbitration agreement that contains a provision
              20
                      delegating “gateway” issues, such as the arbitration agreement’s validity, to the arbitrator and the
              21
                      party challenging the agreement does not specifically challenge the delegation provision. Rent-A-
              22
                      Center, W., Inc. v. Jackson, 561 U.S. 63, 72, 130 S. Ct. 2772, 2779 (2010) (finding that unless a
              23
                      challenging party specifically challenges the delegation provision, the court must treat it as valid
              24
                      and enforce it, leaving any challenge to the validity of the arbitration agreement as a whole for the
              25
                      arbitrator); see also Martin v. ResortCom Int'l LLC, No. 2:22-cv-00247-JAD-BNW, 2022 U.S. Dist.
              26
                      LEXIS 220626, at *3-4 (D. Nev. Dec. 6, 2022) (enforcing the delegation provision by compelling
              27
                      arbitration when the challenging party challenged the validity of the arbitration agreement as a
              28
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                1
                      whole on unconscionability grounds but failed to challenge the delegation provision specifically).
                2              Here, the parties delegated authority to determine the validity of the Arbitration Agreement
                3     to the arbitrator. See ECF No. 13 at § 3(A)(ii). Although Plaintiff challenges the validity and
                4     enforceability of the Arbitration Agreement as a whole based on “the doctrines of unclean hands,
                5     estoppel, and third party beneficiary [sic]…pursuant to the Franken Amendment,” Plaintiff fails to
                6     challenge the validity of the delegation provision specifically. See ECF No. 16 at 6:2-7. Thus, the
                7     Court “must treat the delegation provision as valid under [FAA] § 2, and must enforce it under §§
                8     3 and 4, leaving any challenge to the validity of the agreement as a whole for the arbitrator.” Martin,
                9     2022 U.S. Dist. LEXIS 220626, at *5 (internal punctuation omitted) (citing Rent-A-Center, W.,
              10      Inc., 561 U.S. at 73).
              11               Accordingly, the Court should compel the parties to arbitration and allow the arbitrator to
              12      determine whether the Arbitration Agreement is valid – as the parties’ agreed pursuant to the
              13      delegation provision.
              14                   B. The Franken Amendment is inapplicable.
              15               Even if the Court concludes that it, and not the arbitrator, should decide whether the parties’
              16      dispute is arbitrable, the Court should find that the Franken Amendment does not bar enforcement
              17      of the parties’ Arbitration Agreement. Plaintiff has presented no factual basis to bind Defendant to
              18      any obligation under the Franken Amendment and, legally, Defendant cannot be bound by the
              19      Franken Amendment.
              20                               i.    Plaintiff’s evidence is irrelevant.
              21               Plaintiff’s argument relies heavily on Exhibit 1 to his Opposition, which he contends shows
              22      that Defendant entered into a multimillion-dollar contract with the military. See ECF No. 16-1 at
              23      8. However, Plaintiff’s exhibit shows that the contract was awarded to Tesla Industries, Inc.,
              24      which is a separate and distinct entity from the named party in this action, Defendant Tesla, Inc.
              25      Id.; Exhibit 1 (showing Tesla Industries, Inc. was incorporated in 1991); Exhibit 2 (showing Tesla,
              26      Inc. was incorporated in 2003).1

              27      1
                       A court may take judicial notice of matters of public record if they can be accurately and readily determined from
              28      sources whose accuracy cannot reasonably be questioned. See Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988,
                      999 (9th Cir. 2018) (citing Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001)). Thus, the Court may take
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                1
                               Tesla Industries, Inc. and Tesla, Inc. are completely separate entities. Whether negligently
                2     or intentionally, Plaintiff is confused by a similarly-named, but completely unrelated company that
                3     has a purported contract with the DOD (Tesla Industries, Inc.). Tesla Industries, Inc. was
                4     incorporated in 1991 while Defendant Tesla, Inc. was founded in 2003. Exs. 1-2. Moreover, the
                5     companies offer different products and services. Tesla Industries, Inc.’s primary products include
                6     “Turbo Start™ portable ground power systems, the MPU (Micro Power Unit) Aviation Battery
                7     Systems and our Cobra™ series of connectors and cables” whereas Tesla, Inc. is an automotive
                8     company that designs, manufactures, and sells electric cars and solar products. Compare Exhibit 3
                9     (available at http://www.teslaind.com/about-tesla-industries.php (last accessed April 30, 2025))
              10      with ECF No. 13-3 at ¶ 3 (declaring “Tesla is an automotive company with a mission to transition
              11      the world to sustainable energy through designing, manufacturing, and selling electric cars and
              12      solar products…”). Tesla Industries, Inc. also purports to design and manufacture power conversion
              13      systems in New Castle, Delaware while (relevant to this action) Plaintiff’s employer, Tesla, Inc.,
              14      builds products in Nevada and California, and is incorporated in Texas. Compare Ex. 3 with ECF
              15      No. 13-3 at ¶ 4.
              16               In sum, Tesla Industries, Inc. and Tesla, Inc. are two separate, district, and unrelated legal
              17      entities. More importantly, Tesla Industries, Inc. is not named in this action, and any contracts
              18      awarded to it are irrelevant.
              19               Plaintiff’s entire argument that arbitration cannot be compelled pursuant to the Franken
              20      Amendment is built an alleged contract between a completely unrelated entity and the Department
              21      of Defense (the “DoD”). Plaintiff has not provided any evidence that Defendant is a contractor for
              22      the DoD. In other words, Plaintiff has not presented any contract between his former employer and
              23      the named Defendant, Tesla, Inc., and the DoD. Still, Plaintiff demands Defendant be bound by
              24      provisions Plaintiff “presumes” appear in some hypothetical, unidentified contract with the DoD.
              25      See ECF No. 16 at 4:1-2 (“In breach of presumed contractual obligations (presumed because
              26      Plaintiff does not currently have a copy of the contract in question…)”); id. at 12:5-8 (“…Tesla

              27

              28      judicial notice of Exhibits 1 and 2 showing public records regarding the entity status of the two businesses from the
                      State of Delaware’s website.
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                1
                      presumably agreed to not enforce a forced pre-dispute arbitration agreement…”).
                2             Plaintiff has not presented any fact rendering the Franken Amendment in any way relevant
                3     to Defendant Tesla, Inc. Thus, all of Plaintiff’s equitable arguments (including, but not limited to,
                4     “unclean hands, estoppel, and third party beneficiary”) based on Plaintiff’s assumption that Tesla
                5     violated the Franken Amendment or a contract under the Franken Amendment are similarly
                6     irrelevant. See ECF No. 16 at 5:7-13.
                7             The Court should enforce the only contract before it – the parties’ Arbitration Agreement.
                8     Accordingly, the Court should grant Plaintiff’s Motion (ECF No. 13) and compel the parties to
                9     participate in arbitration.
              10                            ii.     Plaintiff misreads the Franken Amendment.
              11              The Court need not even analyze the Franken Amendment because there is no evidence of
              12      a contract between Defendant Tesla, Inc. and the DoD. Plaintiff’s litigation tactic of inserting a
              13      similarly-named entity in place of Defendant should be rejected, and not rewarded.
              14              However, even if Plaintiff’s “evidence” and assumptions applied to Defendant, Plaintiff
              15      misunderstands and misapplies the Franken Amendment to this case. Plaintiff claims the Franken
              16      Amendment prohibits Defendant from entering into forced arbitration agreements requiring its
              17      employees to submit Title VII claims to arbitration and enforcing previously existing arbitration
              18      agreements. ECF No. 16 at 7:4-10.
              19              However, the Franken Amendment does not bind, obligate, or prohibit contractors from
              20      doing anything. Talhouk v. RMR Grp. LLC, No. 1:22-cv-03122-WMR, 2023 U.S. Dist. LEXIS
              21      173446, at *5-6 (N.D. Ga. Aug. 15, 2023) (finding that, by its plain language, the Franken
              22      Amendment “is not a direct regulatory prohibition on the conduct of contractors”); Schweyen v.
              23      Univ. of Mont.-Missoula, No. CV 21-138-M-DLC, 2022 U.S. Dist. LEXIS 81810, at *10 (D. Mont.
              24      May 5, 2022) (“[N]othing in the Franken Amendment or its implementing regulations imposes
              25      freestanding legal obligations on covered contractors.”).
              26              Rather, the Franken Amendment prohibits the DoD from entering into any contracts in

              27      excess of $1 million unless the contract contains a provision in which the contractor agrees not to

              28      enforce an arbitration agreement in disputes regarding certain claims. Talhouk, 2023 U.S. Dist.

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                1
                      LEXIS 173446, at *5-6 (“By its plain language, this regulatory statute merely restricts the spending
                2     of governmental departments and agencies”). In other words, the Franken Amendment merely
                3     requires the DoD to include certain provisions in certain contracts.
                4             Moreover, the Franken Amendment “does not provide that arbitration provisions executed
                5     or enforced in violation of this promise are void, nor does it establish a remedy for violations in
                6     favor of employees.” Lee v. Google, Inc., 2018 Cal. Super. LEXIS 114049, *10-11. The text of the
                7     Franken Amendment does not invalidate arbitration agreements between contractors and their
                8     employees. Id. By asking the Court to invalidate the parties’ Arbitration Agreement under the
                9     Franken Amendment, the Plaintiff asks the Court to impermissibly legislate from the bench by
              10      enforcing provisions of the Franken Amendment that do not exist. Miller v. Snavely (In re Snavely),
              11      314 B.R. 808, 818 (B.A.P. 9th Cir. 2004) (“We cannot legislate from the bench to make the statute
              12      into something it is not, either in its plain language or in its historical application.”)
              13              Indeed, multiple courts have found that the Franken Amendment is not a defense to
              14      arbitration, and a contractor’s employees may not invoke it to avoid arbitration. Id.; Schweyen,
              15      2022 U.S. Dist. LEXIS 81810, at *10; Talhouk, 2023 U.S. Dist. LEXIS 173446, at *5-6; Harris v.
              16      Halliburton Co., No. 1:16 -cv-00281-LJO-JLT, 2016 U.S. Dist. LEXIS 105135, at *9 (E.D. Cal.
              17      Aug. 9, 2016); Abbiati v. Lockheed Martin Info. Tech., 84 Mass. App. Ct. 1129, 2 N.E.3d 199, ¶ 1
              18      (2014). Plaintiff has provided no case law to the contrary. In fact, Plaintiff sidesteps these
              19      arguments altogether by attempting to distract the Court with a reference to an irrelevant contract
              20      involving Tesla Industries, Inc. as described above. When a party fails to respond to an argument,
              21      the party admits that the argument has merit based on his silence and has consented to the granting
              22      of the Motion. Carthen v. Nev., 2018 Nev. Dist. LEXIS 425, *4-5 (collecting cases).
              23              Because the Franken Amendment does not restrict a contractor’s actions, does not invalidate
              24      arbitration agreements between contractors and their employees, and does not provide employees
              25      with a remedy or defense to arbitration, Plaintiff cannot invoke the Franken Amendment to avoid
              26      arbitration this case even if Defendant was a relevant contractor. Accordingly, the Court should

              27      grant Defendant’s Motion (ECF No. 13) and compel arbitration.

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                1                C. Plaintiff does not dispute Defendant’s motions to stay if the motion to compel
                                    arbitration is granted.
                2
                             Defendant states he has no opposition to Plaintiff’s motions to stay (ECF Nos. 14-15) if
                3
                      Defendant’s Motion to Compel Arbitration (ECF No. 13) is granted. ECF No. 16 at § III. Although
                4
                      Plaintiff contends that the Motion to Stay the Case Pending Decision to Motion to Compel
                5
                      Arbitration (ECF No. 14) would be moot if the Motion to Compel (ECF No. 13) is denied, for
                6
                      purposes of scheduling and judicial economy, such Motion should be granted regardless of the
                7
                      Court’s decision on Defendant’s Motion to Compel. Id.; ECF No. 14 at § III(b).
                8
                                                         III.      CONCLUSION
                9            Unfortunately for Plaintiff, this lawsuit does not involve in any way Tesla Industries, Inc.
              10      (a company completely unrelated to Plaintiff’s former employer, Defendant Tesla, Inc.)
              11      Ultimately, Plaintiff cannot show any reason the actual parties’ Arbitration Agreement or the
              12      delegation provision should not be enforced in law or fact. Thus, for the foregoing reasons,
              13      Defendant respectfully requests that its Motions (ECF Nos. 13-15) be granted, the parties be
              14      compelled to arbitration with JAMS, and the case stayed.
              15

              16             Dated this 30th day of April, 2025.
                                                                          JACKSON LEWIS P.C.
              17
                                                                          /s/ Hilary A. Williams
              18                                                          Deverie J. Christensen, Bar # 6596
                                                                          Hilary A. Williams, Bar #14645
              19                                                          300 South Fourth Street, Suite 900
                                                                          Las Vegas, Nevada 89101
              20
                                                                          Attorneys for Defendant
              21

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                1
                                                       CERTIFICATE OF SERVICE
                2
                               I HEREBY CERTIFY that I am an employee of Jackson Lewis P.C., and that on this 30th
                3
                      day of April, 2025, I caused to be served via the court’s electronic filing and service system, a true
                4     and correct copy of the above foregoing DEFENDANT TESLA, INC’S REPLY IN SUPPORT
                5     OF DEFENDANT’S: (1) MOTION TO COMPEL ARBITRATION; (2) MOTION TO STAY
                6     CASE PENDING DECISION OF MOTION TO COMPEL ARBITRATION; AND (3)
                7     MOTION TO STAY CASE PENDING COMPLETION OF ARBITRATION; properly
                8     addressed to the following:
                9
                      James P. Kemp, Esq.
              10      Kemp & Kemp
                      7435 W. Azure Drive, Ste. 110
              11      Las Vegas, Nevada 89130

              12      Attorney for Plaintiff
                      Malcolm Shepherd
              13
                                                                            /s/ Rebecca Portelli
              14                                                            Employee of Jackson Lewis P.C.

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                      4928-1801-5291, v. 3
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